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  The relief described hereinbelow is SO ORDERED.



  Signed August 23, 2022.

                                                                     __________________________________
                                                                            H. CHRISTOPHER MOTT
                                                                     UNITED STATES BANKRUPTCY JUDGE
  ________________________________________________________________


                            IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

      In re:                                                     §
                                                                 §         CHAPTER 11
      3443 ZEN GARDEN                                            §
      LIMITED PARTNERSHIP,                                       §         Case No. 20-10410-HCM
                                                                 §
               Debtor.                                           §
                                                                 §


                             FINAL DECREE CLOSING BANKRUPTCY CASE

               CAME ON FOR CONSIDERATION the Application for Entry of a Final Decree and

  Motion to Close the Bankruptcy Case (the “Motion”)1 filed by Gregory S. Milligan, Trustee (the

  “Trustee”) of the post-confirmation ZG Creditor Trust (the “Trust”) of 3443 Zen Garden, L.P.

  (“Debtor”), the chapter 11 debtor in the in the above-captioned case (the “Case”), and the Court,

  having considered the Motion, the record in the Case, and the representations of the Trustee, hereby




  1
      Capitalized terms not otherwise defined herein are defined in the Motion.

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  finds that the relief requested in the Motion is well-grounded; accordingly, it is therefore

  ORDERED:

          4.      The Motion is hereby GRANTED on the terms stated herein.

          5.      The Debtor’s Case is hereby CLOSED, effective as of the date of this order, without

  prejudice to the rights of any party in interest to seek to reopen such case for good cause.

          6.      Following closing of the Case, the Trustee is authorized to continue limited

  necessary winddown activities, including issuance of final distributions and governmental filings

  as necessary.

          7.      Effective upon issuance of the Trust’s final distributions, Gregory S. Milligan is

  hereby discharged and released as the Trustee of the Trust from all responsibilities, liabilities, and

  duties to the Trust, the Debtor, its estate, or any creditor or party in interest. The Trustee’s

  professionals, including Wick Phillips Gould and Martin, LLP, and HMP Advisory Holdings, LLC

  d/b/a Harney Partners and are hereby discharged and released from all responsibilities, liabilities

  or duties to the Trust, the Debtor, its estate, or any creditor or party in interest. This Order releases

  any and all Claims (as defined in the Bankruptcy Code) and causes of action by any person or

  entity against the Trustee or his professionals arising from or related to the Trust, the Plan, the

  Debtor, and its estate.

          8.      The Court reserves jurisdiction to interpret and enforce the terms of this Order.

                                        ### END OF ORDER ###




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